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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    NORTHERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,                                    Case No. 2:13-mj-05

 v.                                                          HON. TIMOTHY P. GREELEY

 SCOTT BERNARD WILL,

            Defendant.
 _________________________________/


                                     ORDER OF DETENTION


               Defendant Scott Bernard Will appeared before the undersigned on April 24, 2013, on

a complaint alleging charges of Conspiracy to Distribute and Possess with Intent to Distribute

MDPV, a Schedule I controlled substance, and Conspiracy to Distribute and Possess with Intent to

Distribute Alpha-PVP, a controlled substance analogue. The government filed a motion for

detention, to which defense counsel indicated his client did not object at this time. Accordingly, IT

IS HEREBY ORDERED that the defendant shall be detained pending further proceedings.

Defendant Will reserves the right to request a detention hearing at a later date.

               IT IS SO ORDERED.



Date: April 25, 2013                                           /s/ Timothy P. Greeley
                                                              TIMOTHY P. GREELEY
                                                              United States Magistrate Judge
